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     IT IS ORDERED as set forth below:



     Date: June 1, 2020
                                                      _____________________________________
                                                                    Paul Baisier
                                                            U.S. Bankruptcy Court Judge

  _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                            :      CASE NO. 20-66657-PMB
                                                  :
TEMPLER ACQUISITIONS, LLC,                        :
                                                  :      CHAPTER 11
               Debtor.                            :
                                                  :
                                                  :
WILMINGTON SAVINGS FUND                           :
SOCIETY, FSB                                      :
                                                  :
               Movant,                            :
                                                  :
v.                                                :      CONTESTED MATTER
                                                  :
TEMPLER ACQUISITIONS, LLC,                        :
                                                  :
               Respondent.                        :
                                                  :

          ORDER GRANTING EMERGENCY STAY RELIEF TO PERMIT
     MOVANT TO CRY FORECLOSURE SALE AND TO TAKE NO OTHER ACTION

         This matter is before the Court on the Motion for Relief from Automatic Stay to Cry

Foreclosure Sale Scheduled June 2, 2020, Pending Further Order Allowing Recording Deed
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Under Power of Sale as to Property Located at 728 Cascade Ave SW, Atlanta, GA 30310, or

Alternative Motion for In Rem Relief (the “Motion”) filed by Movant named above (the “Movant”)

on May 28, 2020 (Docket No. 10).        In the Motion, the Movant seeks relief from the automatic

stay under 11 U.S.C. § 362(a) to conduct a nonjudicial foreclosure sale under Georgia law (the

“Foreclosure Sale”) with regard to certain real property described in greater detail in the Motion

(the “Property”), and to take certain related actions. Further, Movant requested in its Motion for

Expedited Hearing on Motion for Relief from Automatic Stay to Cry Foreclosure Sale Scheduled

June 2, 2020, Pending Further Order Allowing Recording Deed Under Power of Sale as to

Property Located At 728 Cascade Ave SW, Atlanta, GA 30310, or Alternative Motion for In Rem

Relief (Docket No. 12)(the “Emergency Request”) that the Court address the Motion on an

emergency basis so as to permit Movant to cry the Foreclosure Sale already noticed for June 2,

2020 (the “Scheduled Foreclosure Date”), reserving the final determination of the Motion for a

hearing to be held on a nonemergency basis. This request was granted by the Court by its Order

dated May 29, 2020 (Docket No. 14)(the “Scheduling Order”).

       Pursuant to the Scheduling Order, the Motion came before the Court for a preliminary

hearing (the “Hearing”) on June 1, 2020.       Present at the Hearing was counsel for the Movant,

counsel for the United States Trustee, and the Subchapter-V Trustee.       The Court heard argument

from the parties present at the Hearing.

        Based on the foregoing, and for good cause shown, it is hereby ORDERED that the

Motion be, and the same hereby is, GRANTED IN PART as follows:

      1.   The automatic stay is modified as to the Movant so that the Movant may exercise its

state law and contract rights with respect to the Property solely to the limited extent that the Movant

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may cry the Foreclosure Sale on the Property on the Scheduled Foreclosure Date, but that the

Movant may only conditionally accept the high bid at such sale expressly conditioned on

(i) the Movant’s obtaining further relief from stay, or (ii) this case being dismissed by a subsequent

order.   In addition, the Movant may not collect the purchase price for the Property (except to hold

in escrow), record any deed under power of sale or take any other actions to complete or

consummate the Foreclosure Sale without (i) obtaining further relief from stay, or (ii) this case

being dismissed by a subsequent order.

         2.   The restricted grant of relief on the Motion granted herein is expressly intended to

preserve the equity of redemption of the Debtor regarding their interest in the Property under state

law. This Order does not lift the automatic stay to permit the termination of the Debtor’s equity

of redemption, which will remain unaffected unless and until the stay is further modified by this

Court or this case is dismissed by a subsequent order.

         3.   By proceeding with the Foreclosure Sale pursuant to this Order, Movant waives any

argument that the equity of redemption has terminated as a result of its conduct of the Foreclosure

Sale as permitted herein.

         4.   If this case is subsequently dismissed, the automatic stay will be terminated in full,

nunc pro tunc to the date of this Order, unless this Court orders otherwise in connection with such

dismissal.

         5.   This Order is effective upon entry and is not stayed under Federal Rule of Bankruptcy

Procedure 4001.




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         6.   A final telephonic hearing on the Motion will be held on the 24th day of June, 2020,

commencing at 9:30 a.m. in using the same dial-in information as outlined in the Scheduling

Order.

          The Clerk is directed to serve a copy of this Order upon the Debtor, the Movant, Movant’s

counsel, the Subchapter-V Trustee, and the United States Trustee.

                                     [END OF DOCUMENT]




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